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6
7                      IN THE UNITED STATES DISTRICT COURT FOR THE
8                               EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,           )          Case No. 1:07-CR-179 AWI
11                                       )
                       Plaintiff,        )          ORDER TO CONTINUE DATE
12         v.                            )          FOR STATUS CONFERENCE
                                         )
13   JOSE CONTRERAS MIRAN and,           )          DATE: APRIL 7, 2008
     JOSE TRINIDAD VALERIANO,            )          TIME: 9:00 a.m.
14                                       )          PLACE: Courtroom 2
                       Defendants.       )          Honorable Anthony W. Ishii
15   ____________________________________)
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            Upon the stipulation of the parties and good cause appearing therefore,
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            IT IS HEREBY ORDERED that the status conference presently set for April 7, 2008 at
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     9:00 a.m. is continued until May 5, 2008 at 9:00 a.m. to be heard before the Honorable Anthony
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     W. Ishii, Courtroom 2.
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21
     IT IS SO ORDERED.
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     Dated:    April 1, 2008                          /s/ Anthony W. Ishii
23   0m8i78                                     UNITED STATES DISTRICT JUDGE
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